          Case 2:96-cr-00350-WBS-AC Document 834 Filed 07/16/13 Page 1 of 3


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 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. CRS 2:96-350-09 WBS
                                             )
12                        Plaintiff,         )   GOVERNMENT’S MOTION AND
                                             )   [PROPOSED] ORDER FOR AN
13   v.                                      )   EXTENSION TO FILE SUPPLEMENTAL
                                             )   SENTENCING MEMORANDUM
14   HUY CHI LUONG,                          )
                                             )
15                        Defendant.         )
                                             )
16
17
           The United States of America, through its counsels of record,
18
     Benjamin B. Wagner, United States Attorney for the Eastern District
19
     of California, and William S. Wong, Assistant United States Attorney,
20
     hereby submits this motion to revise the briefing schedule to allow
21
     the Government one additional day to file its supplemental sentencing
22
     memorandum for the following reasons:
23
           1.    At the last hearing, the court requested that the
24
     government file a supplemental sentencing memorandum with specific
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     references to testimony from the trial transcript which supports its
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     sentencing recommendation.        I an effort to do so, counsel for the
27
     government attempted, but could not locate, the trial transcripts.
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        Case 2:96-cr-00350-WBS-AC Document 834 Filed 07/16/13 Page 2 of 3


 1   After having staff members assist in locating the trial transcripts,
 2   a decision was made simply to re-copy the trial transcript that were
 3   available and maintained by the Clerk of the Court.
 4        2.   Counsel for the government has spent the last few day re-
 5   reading the entire trial transcripts to locate the testimony relevant
 6   to the sentencing issues and the government’s sentencing
 7   recommendation.   A draft is near completion.      One more day is needed
 8   to finalize the sentencing memorandum.
 9        3.   Counsel for the government is currently preparing for trial
10   in the case of United States v. Khan, CRS. 10-175 KJM, which is
11   scheduled to begin on July 23, 2013.       Additionally, counsel for the
12   government recently received a court order to respond to supplemental
13   filings in a Section 2255 petition in United States v. Davis, CRS.
14   98-114 KJM/DAD, which is due to be filed in two weeks.         Accordingly,
15   the government respectfully requests that the briefing schedule be
16   modified and the government be given one additional day to file its
17   supplemental sentencing memorandum as follows;
18        1.   Government’s supplemental sentencing memorandum shall be
19   filed no later than July 16, 2013;
20
21                                          Respectfully submitted,
22
23   DATED:     July 15, 2013               BENJAMIN B. WAGNER
                                            United States Attorney
24
25
                                      By:    /s/ William S. Wong
26                                          WILLIAM S. WONG
                                            Assistant U.S. Attorney
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          Case 2:96-cr-00350-WBS-AC Document 834 Filed 07/16/13 Page 3 of 3


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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. CRS 2:96-350 WBS
                                             )
12                        Plaintiff,         )   ORDER TO RESET
                                             )   BRIEFING SCHEDULE’s
13   v.                                      )
                                             )
14   HUY CHI LUONG,                          )
                                             )
15                        Defendant.         )
                                             )
16                                           )
17
18         For the reasons set forth above, the revised briefing schedule
19   is adopted.    The government’s requests to file its supplemental
20   sentencing memorandum by July 16, 2013 is hereby granted.           Sentencing
21   in this matter remains unchanged and shall proceed on July 22, 2013.
22
     DATED:   July 16, 2013
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